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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: JEREMY GLENN BOYLE                                               CHAPTER 13

DEBTOR                                                                  CASE NO.: 19-13280-JDW

                                    MOTION TO EXTEND TIME

        COMES NOW, the Debtor, by and through his attorney, and moves this Court for an Order

Extending Time to file the Attorney Disclosure Statement, Verification of Matrix, Chapter 13 plan,

Summary of Schedules, Schedule A/B, Statement of Financial Affairs, Schedule C, Chapter 13 Proper

122C form(s), Schedule D, Schedule E/F, Schedule G, Schedule H, Schedule I, and Schedule J (and J-2 if

applicable). Debtor requests an additional fourteen (14) days within which to file documents so as to

cure any deficiency.

        WHEREFORE, PREMISES CONSIDERED, the Debtor prays that this Court will issue an Order

extending time an additional fourteen (14) days within which to file documents.

        Respectfully submitted, this 28th day of August, 2019.

                                                /s/ Karen B. Schneller_________________
                                                KAREN B. SCHNELLER
                                                ROBERT H. LOMENICK, JR
                                                SCHNELLER & LOMENICK, P.A.
                                                P. O. Box 417
                                                Holly Springs, MS 38635
                                                662-252-3224
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                                       CERTIFICATE OF SERVICE

        I, Karen B. Schneller, attorney for debtor(s), do hereby certify that I have this day mailed a true
and correct copy by United States Mail, postage prepaid, of the above and foregoing Motion to Extend
Time to:

Locke D. Barkley
Chapter 13 Trustee
sbeasley@barkley13.com

U.S. Trustee
USTPRegion05.AB.ECF@usdoj.gov

all creditors at their respective addresses

DATED: August 28th, 2019                                  /s/ Karen B. Schneller_____________
                                                          ATTORNEY FOR DEBTOR(S)
